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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



SARAH CROWELL,

              Plaintiff,                                  Case No. 1:17-CV-603

v.                                                        Hon. Gordon J. Quist

COMMISSIONER OF SOCIAL
SECURITY,

              Defendant.
                                 /

                            ORDER APPROVING AND
                    ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed by United States Magistrate

Judge Ray Kent in this action on July 12, 2018, recommending that the decision of the

Commissioner be affirmed. The Report and Recommendation was duly served on the parties the

same date. No objections have been filed pursuant to 28 U.S.C. § 636(b).

       THEREFORE, IT IS ORDERED that the Report and Recommendation, filed July 12, 2018

(ECF No. 16), is approved and adopted as the opinion of the Court.

       IT IS FURTHER ORDERED that the Commissioner’s decision is affirmed.

       A separate judgment will enter.

       This case is concluded.



Dated: July 30, 2018                                     /s/ Gordon J. Quist
                                                        GORDON J. QUIST
                                                   UNITED STATES DISTRICT JUDGE
